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                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH
                                  CENTRAL DIVISION


 UNITED STATES OF AMERICA,                                Case 2:11-cv-00419-RJS-DBP

        Plaintiff and Counter-Defendant,                  MOTION FOR LEAVE TO
                                                          CONSOLIDATE RESPONSES TO
 v.                                                       DEFENDANTS’ MOTIONS FOR
                                                          PARTIAL SUMMARY
 FEATURE FILMS FOR FAMILIES, INC.,                        JUDGMENT

 CORPORATIONS FOR CHARACTER, L.C.,

 FAMILY FILMS OF UTAH, INC., and

 FORREST SANDUSKY BAKER III, individually
      and as owner and principal officer of
      FEATURE FILMS FOR FAMILIES,
      INC., CORPORATIONS FOR
      CHARACTER, L.C., and FAMILY
      FILMS OF UTAH, INC.,

        Defendants and Counter-Plaintiffs.


       On November 15, 2012, Magistrate Judge Furse ordered that the United States file

memoranda in opposition to three motions for partial summary judgment on or before December

14, 2012. Dkt. No. 69. To promote judicial efficiency, the United States respectfully requests

leave of Court to file a consolidated response to Defendants’ three motions. Responding to each

motion separately would have resulted in three briefs, each of which would repeat certain

sections and cross-reference one another. Clarity is best served by the filing of one consolidated

response.

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       Accordingly, the United States requests leave of Court fo file its opposition to Defendants

three separate motions for summary judgment as one omibus brief.

Dated: December 14, 2012                            Respectfully Submitted,

OF COUNSEL:                                         FOR THE UNITED STATES OF
                                                    AMERICA

LOIS C. GREISMAN                                    STUART F. DELERY
Associate Director for Marketing Practices          Acting Assistant Attorney General
FEDERAL TRADE COMMISSION                            MAAME EWUSI-MENSAH FRIMPONG
                                                    Acting Deputy Assistant Attorney General
Michael E. Tankersley                               Civil Division
Attorney                                            U.S. DEPARTMENT OF JUSTICE
Federal Trade Commission
600 Pennsylvania Ave., NW, Rm. 286                  DAVID B. BARLOW
Washington, DC 20580                                United States Attorney
PHONE: 202-326-2991                                 JARED C. BENNETT
FAX: 202-326-3395                                   Assistant U.S. Attorney for the
mtankersley@ftc.gov                                 District of Utah
                                                    185 South State Street
                                                    Suite 300
                                                    Salt Lake City, UT 84111
                                                    PHONE: 801-524-5682

                                                    MICHAEL S. BLUME
                                                    Director
                                                    Consumer Protection Branch

                                                    RICHARD GOLDBERG
                                                    Assistant Director
                                                    Consumer Protection Branch

                                                    s/ Daniel M. Baeza
                                                    DANIEL M. BAEZA
                                                    Trial Attorney
                                                    Consumer Protection Branch
                                                    U.S. Department of Justice
                                                    P.O. Box 386
                                                    Washington, D.C. 20044
                                                    PHONE: 202-616-4916
                                                    FAX: 202-514-8742
                                                    dan.baeza@usdoj.gov

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                               CERTIFICATE OF SERVICE

       I, Daniel M. Baeza, certify that on December 14, 2012 I served a true copy of the United

States’ Motion for Leave to Consolidate Responses to Defendants’ motions for Partial Summary

Judgment on all counsel of record via ECF.

                                    s/ Daniel M. Baeza
                                    DANIEL M. BAEZA




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